     Case 18-15968-jkf      Doc 34     Filed 02/05/19 Entered 02/05/19 12:56:48            Desc Main
                                       Document      Page 1 of 2

                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA
       In re:                                  :

       JUANITA COOPER

                                                     : Bankruptcy No. 18-15968JKF
                    Debtor(s)                        : Chapter 13

                                                 *******

                                                         HEARING TO BE HELD:
                                                         Date: February 27, 2019
                                                         Time: 9:30 a.m.
                                                         Place: United States Bankruptcy Court
                                                                Courtroom #3
                                                                900 Market Street
                                                                Philadelphia, PA 19107-4295

                                                 *******

               TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of Pennsylvania:

1.      Your Movant is Scott F. Waterman, Esq. the duly qualified and acting Chapter 13 Trustee in the
above-captioned case.

2.      The within case was commenced by the filing of a Chapter 13 petition on 9/10/18.

3.     This Motion to Dismiss has been filed for the following reason(s):

                    The plan does not appear to be feasible.
4.      For the reasons set forth herein, the Trustee believes, and therefore avers, that the within case
should be dismissed.
    Case 18-15968-jkf     Doc 34    Filed 02/05/19 Entered 02/05/19 12:56:48           Desc Main
                                    Document      Page 2 of 2



WHEREFORE, the Movant requests that the Court, after a hearing, enter an Order dismissing this case.


                                                             Respectfully submitted,

Date: February 5, 2019                                               /s/ Polly A. Langdon

                                                              Polly A. Langdon, Esq.
                                                             for
                                                             Scott F. Waterman, Esq.
                                                             Standing Chapter 13 Trustee
                                                             2901 St. Lawrence Avenue
                                                             Suite 100
                                                             Reading, Pennsylvania 19606
                                                             Telephone: (610) 779-1313
